                                           _______________________________________
                    Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 1 of 24
                                                    SEALED BY ORDER OF THE COURT
AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                         Jun 08 2020

                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Northern District
                                                   __________  DistrictofofCalifornia
                                                                            __________

                  United States of America                          )
                             v.                                     )
                       MARK SCHENA
                                                                    )
                                                                    )
                                                                           Case No.
                                                                                         CR 20-70721-MAG
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  2016 to present                in the county of             Santa Clara              in the
     Northern          District of          California          , the defendant(s) violated:

            Code Section                                                      Offense Description
Title 18 U.S.C. §§ 1349 and 1347                  Count One: Conspiracy to Commit Health Care Fraud
Title 15 U.S.C. §§ 78j, 78ff; 17                  Count Two: Securities Fraud
C.F.R. 240-10b.5
                                                  Max. penalties: Count One: Not more than 10 years imprisonment, not more
                                                  than $250,000 fine, not more than 3 years supervised release and $100
                                                  assessment; Count Two: Not more than 20 years imprisonment, not more
                                                  than $5,000,000 fine, not more than 3 years supervised release and $100
                                                  assessment.

         This criminal complaint is based on these facts:
Please see the attached affidavit of USPIS Postal Inspector Anna Hallstrom.




         ✔ Continued on the attached sheet.
         ’

                                                                             /s/ Anna Hallstrom by VKD w/permission
                                                                                               Complainant’s signature
                Approved as to form _______________
                                                                                   Anna Hallstrom, Postal Inspector, USPIS
                                   AUSA William
                                         __________
                                                Frentzen
                                                                                                Printed name and title

Sworn to before me and signed via telephone.


Date:     June 8, 2020
                                                                                                  Judge’s signature

City and state:                          San Jose, CA                         Hon. Virginia K. DeMarchi, U.S. Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                    Reset
         Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 2 of 24




                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

        I, Anna Hallstrom, Inspector with the United States Postal Inspection Service, being duly

sworn, do declare and state:

                                       INTRODUCTION

        1.      I make this affidavit in support of a criminal complaint for MARK SCHENA, for

one count of securities fraud, in violation of 15 U.S.C. §§ 78j & 78ff and 17 C.F.R. 240.10b-5, and

one count of conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349.

        2.      I am a Postal Inspector employed by the U.S. Postal Inspection Service. I have

been a Postal Inspector since July 2014. In addition, I have been a Certified Fraud Examiner since

August 2008, which requires twenty continuing education hours per year. These education hours

include additional training in white-collar and cybercrimes. As part of my current duties as a

Postal Inspector, I investigate instances of fraud including, but not limited to, those involving the

use of the United States Postal Service. I received my basic training as a criminal investigator at

the U.S. Postal Inspection Service Academy in Potomac, Maryland. Over the years, I have

received training in the areas of financial fraud and white-collar crime. I have been the case agent

in numerous criminal investigations.     I have authorized and sworn to numerous affidavits in

support of federal search warrants and federal arrest warrants. I have personally participated in

executing search warrants and seizing evidence, including computers and other electronic

equipment, from both businesses and personal residences. As a Postal Inspector, I am an

“investigative or law enforcement officer” of the United States within the meaning of 18 U.S.C.

§ 2510(7), in that I am empowered by law to conduct investigations and to make arrests for federal

felony violations.




                                                 1
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 3 of 24



       3.      The facts in this affidavit come from my personal participation in this investigation ,

my training and experience, and information obtained from other agents and witnesses. Statements

of individuals are set forth as summaries unless otherwise indicated. This affidavit is intended to

show merely that there is sufficient probable cause for the requested complaint and does not set

forth all of my knowledge about this matter.

       4.      As part of this investigation, SCHENA has spoken with me and other investigating

agents on multiple occasions. Throughout this affidavit, his statements are presented in sum and

substance.

       5.      Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that SCHENA has committed securities fraud, in violation of 15 U.S.C.

§§ 78j & 78ff and 17 C.F.R. § 240.10b-5, and conspiracy to commit health care fraud, in violation

of 18 U.S.C. § 1349.

       6.      SCHENA is the President of Arrayit Corporation (“Arrayit”), a publicly traded

medical technology company based in Sunnyvale, California. As part of the scheme, SCHENA

and others submitted or caused the submission of false and fraudulent allergy test claims to the

Medicare Program (“Medicare”) that were procured by the payment of illegal kickbacks and

bribes, medically unnecessary, and/or not provided as represented, while making numerous

misrepresentations to potential investors about Arrayit’s allergy test sales, financial condition, and

its future prospects. Further, SCHENA and others at Arrayit transmitted email communications

and marketing materials that misrepresented Arrayit’s ability to provide accurate, fast, reliable,

and cheap COVID-19 tests in compliance with applicable regulations, instructing its patient

recruiters and medical clinics to add on or bundle Arrayit’s much more lucrative allergy test with

its COVID-19 test regardless of medical necessity, and made misrepresentations to potential



                                                  2
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 4 of 24



investors about its COVID-19 testing capability and Arrayit’s future prospects for COVID-19

testing. In sum, Arrayit and SCHENA’s statements surrounding COVID-19 fit within a pattern of

false and misleading statements to investors and others about Arrayit and its allergy testing.

                                THE MEDICARE PROGRAM

       7.      Medicare was a federally funded program that provided free or below-cost health

care benefits to certain individuals, primarily the elderly, blind, and disabled.    Medicare was

administered by the Centers for Medicare and Medicaid Services (“CMS”), a federal agency under

the United States Department of Health and Human Services (“HHS”). Individuals who received

benefits under Medicare were referred to as Medicare “beneficiaries.” Medicare was divided into

multiple parts with separate coverages: Part A covered hospital inpatient care; Part B covered

physicians’ services and outpatient care; Part C covered Medicare Advantage Plans; and Part D

covered prescription drugs.

       8.      Physicians, clinics, and other health care providers, including laboratories, all of

which provided services to Medicare beneficiaries, were able to apply for and obtain a “provider

number.” A health care provider that received a Medicare provider number was able to file claims

with Medicare to obtain reimbursement for services provided to beneficiaries.

       9.      Medicare only paid for services that were medically necessary and reasonable, and

which were actually provided as represented. Medicare did not pay claims that were procured

based on the payment or receipt of kickbacks and bribes.

       10.     Medicare was a “Federal health care program” as defined in Title 42, United States

Code, Section 1320a-7b(f), and a “health care benefit program” as defined in Title 18, United

States Code, Section 24(b).




                                                 3
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 5 of 24




                                     DIAGNOSTIC TESTING

        11.     Medicare Part B covered medical testing by clinical laboratories. Some examples

of medical tests that fell within the purview of Medicare Part B included:

                a.      Allergy testing: Allergy refers to conditions in which immune responses to

environmental antigens cause tissue inflammation and organ dysfunction. Allergy testing is

performed to determine immunologic sensitivity or reaction to antigens for the purpose of

identifying the cause of the allergic state.

                b.      COVID-19 testing: COVID-19 testing assessed whether an individual had

the novel coronavirus disease 2019, commonly referred to as “COVID-19.”

        12.     Medicare did not cover diagnostic testing that was “not reasonable and necessary

for the diagnosis or treatment of illness or injury or to improve the functioning of a malformed

body member.” Title 42, United States Code, Section 1395y(a)(1)(A). Medicare, through its

contractors, set forth rules and regulations regarding the circumstances in which allergy testing

was reasonable and necessary.

        13.     Allergy test can be conducted “in vivo”, which correlates the performance and

evaluation of selective cutaneous and mucous membrane tests (commonly referred to as “skin

tests”) with the patient's history, physical examination, and other observations.           Allergy

hypersensitivity may also be tested “in vitro” (commonly referred to as “blood tests”) by

measurement of allergen-specific serum IgE. Percutaneous skin testing remains the test of choice

in most clinical situations where immediate hypersensitivity reactions are suspected. Overall, skin

testing is quick, safe, and cost-effective.

        14.     Under certain limited conditions, in vitro testing is covered by Medicare Part B.

Quantitative (measuring the amount of sensitivity) in vitro allergen specific IgE testing is covered



                                                 4
         Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 6 of 24



under conditions where skin testing is not possible or is not reliable. Examples of indications for

in vitro testing include patients with severe dermatographism, ichthyosis or generalized eczema.

        15.     It would not be expected that all patients would receive the same tests or the same

number of sensitivity tests. The number of tests performed must be judicious and related to the

history, physical findings, and clinical judgment specific to each individual.

                                INDIVIDUALS AND ENTITIES

        16.     Arrayit is a Nevada corporation based in the Northern District of California.

Arrayit describes itself as “a world leader in microarray technology empowering researchers and

doctors in the life sciences, wellness and healthcare testing markets.” Arrayit is a participating

provider in the Medicare program and submitted claims to Medicare.

        17.     SCHENA is a 57-year-old scientist who describes himself as the “Father of

Microarray Technology,” and serves as Arrayit’s President. SCHENA is a resident of the Northern

District of California.

                           STATEMENT OF PROBABLE CAUSE

        A.      Introduction

        18.     Arrayit purports to employ “microarray technology” for allergy and COVID-19

testing that allows for laboratory testing based on a finger-prick drop of blood that is placed on a

paper card and sent by mail to Arrayit’s laboratory. Arrayit touts that it is the “only laboratory in

the world that offers” this test and claims on the Arrayit Facebook page that the Arrayit microarray

can use drops of blood “which are 250,000 times smaller than the volume of the Theranos

nanotainer.”

        19.     Arrayit’s common stock is quoted on OTC Link LLC (previously Pink Sheets),

operated by OTC Markets Group Inc., under the ticker symbol ARYC. Arrayit is often referred to



                                                  5
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 7 of 24



as a “penny stock,” and it has consistently traded at prices below $0.20 a share over the last five

years. Arrayit’s low price reflects the fact that the stock is diluted; Arrayit has issued several

billion shares of stock. Members of the investing public have been able to sell and purchase Arrayit

securities, and I am aware of transactions that investors have conducted in Arrayit securities during

the period discussed below.

       20.     The investigation revealed that Arrayit paid kickbacks and bribes to recruiters and

doctors to promote its blood allergy test without regard to whether patients needed to be tested for

120 allergens (including things ranging from stinging insects to food allergens) and needed to be

tested using a blood test as a result of a skin condition or other contraindication for a skin test. In

addition to being conducted without regard to medical necessity, Arrayit’s allergy test produced

results that have little clinical relevance to the treatment of allergy symptoms. At the same time,

SCHENA engaged in an aggressive promotional campaign, using Twitter and press releases to

promote the allergy test offered by the company and boast about the company’s growth without

disclosing the material limits on billing the tests, while also touting purported partnerships with

Fortune 500 companies, government agencies, and public institutions that were non-existent or

materially misleading.

       21.     In early March 2020, Arrayit began promoting a test for COVID-19 through its

website and attempted to exploit the pandemic by claiming that it could test dried blood samples

for both allergens and COVID-19, and instructing its patient recruiters and clinics to add on or

bundle Arrayit’s allergy test and COVID-19 test regardless of medical necessity. Arrayit’s stock

price doubled in mid-March. Arrayit never disclosed that the FDA informed Arrayit on April 17

that its COVID-19 test was not at an acceptable level of performance. On April 13, 2020, the SEC

suspended trading in Arrayit stock because of questions regarding the accuracy and adequacy of



                                                  6
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 8 of 24



publicly-available information concerning Arrayit’s financial condition and COVID-19 blood test.

The suspension lasted from April 13-27; Arrayit has resumed trading since, though at low prices

and with low volume.

       B.      SCHENA’s Communications with Investors

       22.     Since 2015, Arrayit has communicated with investors using a number of methods

and means. Arrayit largely ceased filing formal quarterly reports (Form 10-Qs) with the SEC in

2015, but continued to communicate with investors using press releases, email, and Twitter.

       23.     Until mid-2019, Arrayit posted frequently on a Twitter account identified with the

username @arrayit. There has been no posted tweets or other publicly visible activity from this

account since on or about August 15, 2019.

       24.     SCHENA has provided contradictory information about his involvement with the

Arrayit Twitter account. For example, in a voluntary interview on April 15, 2020, SCHENA

explained that he was not involved with social media and he focused on Arrayit’s lab. In a second

interview on April 20, 2020, SCHENA stated that he was responsible for posting some of the

content on the Twitter account, alongside several others. When asked who else posted on Twitter

on behalf of @arrayit, SCHENA stated “I’m responsible for much of it.”

       25.     Arrayit’s tweets were often bunched together, so that Arrayit posted multiple tweets

per day. Many tweets adopted a journalistic tone, noting that Arrayit sales teams are “report[ing]”

on a topic of interest related to the company, and appear to have used stock photos, which I know

from my experience are photos that are available on the Internet or for purchase.

       26.     On or about March 31, 2019, Arrayit posted to its Twitter account: “This summary

of our regular bi-weekly press releases, reinforced with our daily Twitter feed and popular VIP

shareholder tours, illustrates our commitment to providing shareholders with an exciting real-time



                                                 7
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 9 of 24



view of Arrayit Corporation.” This indicates that Arrayit’s Twitter feed was designed, at least in

part, to provide information to shareholders.

       27.     Arrayit’s tweets are often quoted by others on social media or on investor message

boards, using the phrase $ARYC, which I know from my experience is a way that Twitter users

can aggregate and collect tweets using a stock’s ticker symbol.       This may have the effect of

amplifying Arrayit’s tweets to ensure they are widely seen by investors and potential investors,

thus affecting the stock price. I have seen message boards, including a message board known as

Investors Hub (“IHub”), where these tweets, Arrayit press releases, and other Arrayit

communications are discussed in relation to the current or anticipated future price of Arrayit stock.

       C.      SCHENA’s Statements to Investors About Arrayit’s Financial Status

       28.     Until August 2019, Arrayit was a public company required to file financial reports

with the SEC. I know from my training and experience that these reports are often valuable to

investors, who can use them to evaluate a company’s financial strength or weakness and

opportunity for growth.

       29.     SCHENA repeatedly issued tweets and press releases on Arrayit’s behalf, stating

that the financials were forthcoming shortly. These statements were false or misleading.

       30.     For example, on or about June 15, 2018, Arrayit’s Twitter account stated: “Arrayit

financial experts use Monte Carlo analysis to re-calculate derivatives as required for audit

completion by our very stringent and thorough auditors. Becoming current with our financials

remains a top corporate priority. Thanks for being patient!”

       31.     On or about October 31, 2018, Arrayit tweeted: “Arrayit provides an update to

shareholders. We are currently is a quiet period regarding our financials. Our next financial




                                                 8
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 10 of 24



announcement will be the filing of our 10-K and 10-Q forms through 2018. Thanks everyone for

your continued support and patience!”

       32.     I have interviewed individuals at a firm (“the Auditor”) that was hired by Arrayit

to audit its financial reports. These individuals communicated with SCHENA throughout the

period from 2016 and 2019. According to one of these individuals, a final version of Arrayit’s

audited financials was never prepared because Arrayit failed to provide the Auditor with

documents necessary to complete such an analysis.

       33.     At one point, an employee of the Auditor confronted SCHENA about one of

Arrayit’s tweets regarding the financials. SCHENA told the employee that it would not happen

again, and acknowledged that Arrayit’s failure to release the financials was Arrayit’s fault, not the

Auditor’s.

       34.     On or about March 27, 2019, an investor asked SCHENA if “the financials will be

released on schedule for Q1, 2019 per letter to shareholders.” SCHENA responded that day: “We

appreciate your support and feedback. We are reiterating Q1-2019 for the financials. Thanks,

Mark.” An employee of the Auditor informed me that during this period Arrayit was not providing

the Auditor with financial documents that were necessary to prepare the filing.        The Auditor

eventually resigned from its position in part because of concerns that its association with Arrayit

would tarnish the Auditor’s reputation.

       35.     Late in the evening of Sunday, March 31, 2019 - at or about 11pm Eastern Time -

Arrayit posted a 38-part thread to Twitter entitled “Financials Update.” These tweets include

discussion of the company’s sales, and reiterate its commitment to its shareholders and to filing

financial reports. For example, Arrayit posted that “Arrayit is fully committed to its shareholders,




                                                 9
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 11 of 24



to filing its financial reports as quickly as possible, to listing on a national exchange as soon as

possible and to accelerating growth through deployment of our new healthcare products.”

       36.     Arrayit has not, to date, filed financial statements for the aforementioned years with

the SEC, nor are such statements available on Arrayit’s website. On or about August 16, 2019,

Arrayit deregistered as a filing entity, thus releasing it from its obligation under the Securities

Exchange Act of 1934 to file such in the future.

       C.      Fraud Surrounding Arrayit’s Allergy Testing

               1.      Evidence of Health Care Fraud Related to the Arrayit Allergy Test

       37.     In interviews with federal agents, SCHENA acknowledged that it was important to

follow anti-kickback rules and medical necessity regulations. However, SCHENA also stated that

Arrayit ran a quantitative test for 120 allergens every time for every patient. An Arrayit “allergy

testing report” obtained in the investigation from a medical clinic confirmed that Arrayit tests for

120 allergens, including numerous molds and fungi; tree pollens; grasses; animals and insects;

weed pollens; fruits and vegetables; grains; nuts and seeds; proteins; stinging insects; and others.

       38.     Physician #1 is a medical doctor who is licensed in the State of California and a

participating provider with Medicare. Physician #1 has proffered with the government pursuant

to a Kastigar agreement and has signed an agreement to plead guilty to one count of conspiracy to

commit health care fraud, in violation of 18 U.S.C. § 1349.

       39.     Physician #1 stated that s/he conspired to commit health care fraud with SCHENA

and others. Physician #1 stated it is not medically necessary to test every patient for 120 allergens

using the Arrayit test. Physician #1 stated that SCHENA requested the NPI number of Physician

#1 and that Physician #1 later discovered that Arrayit submitted claims to Medicare and private

insurance plans using Physician #1’s NPI to represent that Physician #1 had ordered allergy testing



                                                   10
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 12 of 24



for patients whom Physician #1 had never seen. Many of these patients were located outside of

the State of California and never received treatment from Physician #1. Physician #1 stated that

an executive of Arrayit (Executive #1) paid Physician #1 illegal kickbacks in the form of insurance

reimbursement checks in exchange for Arrayit’s ordering of allergy testing for patients whom

Physician #1 had never seen. In addition, Physician #1 stated that SCHENA and others submitted

false and fraudulent documentation to regulatory bodies in order to obtain regulatory approval to

allow Arrayit to conduct laboratory testing.

       40.     The investigation has revealed that one of the principal tools for marketing the

Arrayit test is the Arrayit “Client Services Manual.” This affiant has reviewed numerous emails

distributing the Client Services Manual to medical clinics that inquired about potentially using the

Arrayit test. The Client Services Manual cites four published works that support the purported

effectiveness and desirability of using the Arrayit allergy test, three authored by SCHENA about

microarray technology generally and one authored by Medical Expert #1 regarding the use of

microarray technology for allergy testing. In an interview with federal agents involved in this

investigation, Medical Expert #1 stated that the published work did not support the testing

conducted by Arrayit because the published work only examined microarray testing using blood

serum (not dried blood samples that are collected remotely and sent via mail to a laboratory for

testing by Arrayit). While the Client Services Manual states that Arrayit’s technology is validated

by “>6000 peer review scientific publications,” Medical Expert #1 was not aware of any such

publications or any other company that has successfully demonstrated an ability to conduct this

testing using a dried blood sample. Medical Expert #1 also noted that the article cited in the Client

Services Manual concluded that tests of the type offered by Arrayit were medically unnecessary

except in limited circumstances. Medical Expert #1 stated that most patients will present with



                                                 11
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 13 of 24



symptoms that indicate only certain allergies and it’s not necessary to test for other allergens. The

Arrayit test also can lead to false positive results – it is known that sensitization and allergy are

distinct, in that sensitization (in blood tests) do not necessarily imply that symptoms will occur

upon exposure to that allergen. Medical Expert #1 stated that with quantitative in-vitro tests for

120 allergens, it is “almost inevitable that the test comes up with something that has no clinical

relevance of that individual.”

       41.     Agents involved in this investigation also interviewed individuals who were

involved in recruiting and referring patients for quantitative in-vitro tests conducted by Arrayit.

Consultant #1 stated that Arrayit paid patient recruiters a percentage of the amount that Arrayit

was paid by private insurers for allergy testing and that percentage from private insurance also

compensated the marketer for their efforts marketing Arrayit to Medicare providers. Consultant

#2 stated that s/he received a percentage of the amount that private insurance paid Arrayit for each

quantitative in-vitro tests that was ordered for patients who were recruited by Consultant #2.

Consultant #2 stated that many doctors told her/him that the testing conducted by Arrayit was not

medically necessary because Arrayit tested for many allergies that the patients were not suspected

of having.

       42.     Agents involved in the investigation spoke with three Medicare beneficiaries. In

regard to all three of the Medicare beneficiaries, Arrayit billed $5,216 for each test for each

beneficiary and was paid $352.41 per test. None of the three Medicare beneficiaries had a skin

condition or other contraindication for a skin test that would have made a blood test reasonable

and medically necessary. While Physician #1 was listed as the ordering provider in the Medicare

claims data, all three of the Medicare beneficiaries stated that they never had met or received

treatment from Physician #1. Physician #1 confirmed that s/he did not treat the three beneficiaries,



                                                 12
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 14 of 24



       43.     Agents involved in the investigation also reviewed billing data submitted by Arrayit

and medical clinics that used the Arrayit test to Medicare and private insurance plans. From 2018

to the Present, Arrayit submitted or caused the submission of over $5.9 million in claims to

Medicare, and submitted or caused the submission of over $63 million in claims to private

insurance plans, that were procured by the payment of kickbacks and bribes, medically

unnecessary, and/or not provided as represented. As a result of these claims, Medicare paid

$290,000, and private insurance plans paid in excess of $2 million, to Arrayit or other medical

providers ordering the Arrayit test.

               2.      Misrepresentations to Investors Surrounding the Arrayit Allergy Test

       44.     For several years, SCHENA has used Arrayit tweets and press releases to issue

statements about Arrayit’s business opportunities and other developments. These tweets often

discuss Arrayit’s revenues, or refer to deals that Arrayit has made with large companies and

government entities.

       45.     Some of these tweets were false or misleading. For example, on or about March

11, 2019, SCHENA tweeted that Arrayit “increases weekly guidance for medical billing associated

with its physician-prescribed allergy testing services from $1,000,000 ($1 million) per week . . .

to $2,000,000 ($2 million) per week.” This implied not only that Arrayit’s billings had doubled,

but also that Arrayit’s prior billings were greater than $50,000,000 per year.

       46.     In statements provided to law enforcement, SCHENA stated that this press release

was an accurate statement and that it was to be “understood literally.” SCHENA explained that

this tweet was based on the billing data for the allergy services.

       47.     These statements were materially misleading because Arrayit was not billing

$2,000,000 per week in allergy tests; in fact, Arrayit was broke and had taken to paying employees



                                                 13
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 15 of 24



and consultants in stock, and asking shareholders to help it with rent. In addition, SCHENA failed

to disclose the material information that Medicare’s rules and regulations limited the use of in-

vitro blood testing and required the number of allergens tested for to be based off of individualized

medical need.

       48.       The investigative team has reviewed billing data obtained from Arrayit’s biller.

The billing data indicates that Arrayit was billing nowhere near $1 million per week in allergy

tests, much less $2 million. Records obtained from Arrayit’s biller establish that Arrayit and other

medical providers billing the Arrayit test billed $1.6 million for dates of service in January 2019,

$1.9 million in February, and $2.7 million in March. Thus, at no time in the quarter did Arrayit

bill $1 million per week ($4 million per month), much less $2 million per week ($8 million per

month). The tweet also was materially misleading because Arrayit was paid a fraction of these

amounts: approximately $74,000 (January), $80,000 (February), and $114,000 (March).

       49.      At least one investor has told the investigative team that he purchased Arrayit shares

and felt that Arrayit’s stock was undervalued due to the information in SCHENA’s tweet about

Arrayit’s billing revenue.

       50.      SCHENA also disseminated statements, through press releases and tweets, about

Arrayit business opportunities. Many of these tweets described partnerships and contracts with

large companies, and included dollar figures that were false and misleading.

       51.      For example, on or about August 20, 2018, SCHENA tweeted that Arrayit’s “CLIA

clinical laboratory reports $2,490,000 clinical services sales request from the top government

agency the United States Department of Veterans Affairs headquartered in Washington DC USA

and providing premium healthcare.” But Arrayit never entered into such a contract or provided




                                                  14
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 16 of 24



such services for the Veterans’ Administration (“VA”); Arrayit appears to have seen a solicitation

publicly posted by the VA and made an unsuccessful bid for the contract for only for $840,000.

       52.    The investigative team has interviewed a VA employee, who stated that it would be

“inaccurate” to claim that a bid on the contract SCHENA referred to constituted a “$2,490,0 00”

contract. The employee stated that the contract was a base year “pilot program” and would have

been extended for additional years and amounts only if it was successful. Accordingly, even if

Arrayit had received the contract—which it did not—its value would have been approximately

one-third of what SCHENA claimed it to be.

       53.    Further, I have reviewed emails between an Arrayit employee and an employee of

the VA. On the same day the tweet was issued, the Arrayit employee told the VA that Arrayit had

“just found this solicitation” and asked about the possibility of a time extension for Arrayit to bid.

This suggests that the VA did not approach Arrayit about a contract, as implied by SCHENA’s

tweet; rather, Arrayit found a publicly posted solicitation and inquired with the VA. This email

between an Arrayit employee and the VA employee was forwarded to SCHENA one week later,

on August 27, 2018.

       54.    SCHENA did not publish a correction or update to indicate that it had not received

a contract from the VA.

       55.    On or about November 19, 2018, Arrayit released a press release stating that

pursuant to “an allergy testing agreement,” Arrayit “is providing its proprietary microarray-based

finger stick allergy testing services to Sutter Health via doctors in the Sutter Health-affiliated Palo

Alto Medical Foundation,” Sutter Health, “one of the nation’s largest healthcare networks,” reports

“total patient service revenues of $12,000,000,000 annually.”




                                                  15
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 17 of 24



       56.    The investigative team has learned that Arrayit had no contractual relationship with

Sutter Health or with Palo Alto Medical Foundation, a non-profit member of the Sutter Health

Network. When the Palo Alto Medical Foundation became aware of Arrayit’s press release, legal

counsel for Sutter Health sent a cease-and-desist letter to Arrayit. In response to the cease and

desist letter, Executive #1 responded to Sutter by email and agreed to cease and desist using the

name of Sutter Health or Palo Alto Medical Foundation in any press releases, or postings on

Twitter or other social media platforms under Arrayit’s control. SCHENA never clarified the

original press release or took it down.

       57.    On or about August 8, 2019, SCHENA posted from the Arrayit Twitter account that

“Arrayit clinical team commences $240,000,000 test kit manufacturing run to build inventory for

our rapidly expanding physician-ordered finger stick allergy testing services empowering clinic

network doctors to identify, manage and treat allergy and asthma.” This tweet was subsequently

repeated elsewhere, including on social media and IHub.

       58.    SCHENA’s August 8, 2019 tweet suggested that Arrayit had substantial means and

demand for its allergy testing product, such that it could justify hundreds of millions of dollars in

production. There is no evidence that this statement is true; in fact, at the time of this statement,

Arrayit was broke, and SCHENA was soliciting investors to help Arrayit cover its rent. Arrayit

never corrected this statement.

       59.    SCHENA’s tweet was not the first time that SCHENA had posted false or

misleading information about Arrayit’s manufacturing and production capabilities. On or about

May 8, 2019, SCHENA posted that “Arrayit microarray manufacturing team completes $27.9

million production run to build allergy testing services inventory for our rapidly expanded network

of 700 healthcare clinics using our physician-ordered allergy and asthma tests for patient



                                                 16
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 18 of 24



wellness.” There is no evidence of such a production run, and Arrayit’s revenues do not approach

the number mentioned in either tweet.

       60.      SCHENA has published many other similar tweets and press releases touting

Arrayit’s business relationships over the years.

       D.        COVID-19

                 1.     Evidence of Health Care Fraud Surrounding COVID-19

       61.      The investigation has revealed that SCHENA used the COVID-19 pandemic as an

opportunity to expand the pre-existing allergy test scheme and to capitalize on a national

emergency for his own financial gain. As described below, SCHENA offered an Arrayit COVID-

19 test in order to obtain Medicare beneficiary information that then was used to submit false and

fraudulent claims for an unrelated and far more expensive allergy test for 120 allergens. SCHENA

and others transmitted false and fraudulent email communications and marketing materials about

the Arrayit COVID-19 test and purported need to bundle the COVID-19 test with Arrayit’s allergy

test, while never disclosing that there were substantial questions about the accuracy of Arrayit’s

COVID-19 test.

       62.      In interviews with agents involved in this investigation, SCHENA stated that it was

straightforward to use the Arrayit microarray allergy test process to also test for COVID-19, which

he described as a “trivial” adaptation. Expert #1 stated to agents involved in this investigation that

claiming that a microarray allergy test could easily be converted to a COVID-19 test is “great hype

to get more investor money in . . . To make that claim is for the consumption of investors, not

health care.”

       63.      On March 17, 2020, SCHENA sent emails to medical clinics announcing that

Arrayit had developed a COVID-19 test based “on advanced Silicon Valley technology and finger



                                                   17
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 19 of 24



stick blood collection.” In reality, Arrayit had not developed, validated, or produced a test at that

time; indeed, this affiant has reviewed emails and purchase orders indicating that SCHENA first

ordered the COVID-19 antigens that would be necessary to attempt to develop a test on that same

date. However, Arrayit’s announcement generated substantial market interest in Arrayit’s test kit

(the same finger stick test kit that Arrayit used for its allergy test).

        64.    In addition, SCHENA and others also falsely represented the validity and results of

the COVID-19 test in email communications and marketing materials that were transmitted to

medical clinics and others. For example, SCHENA and others represented that Arrayit’s test was

accurate at a time when no Arrayit test existed, such as in an email sent by Arrayit’s Vice President,

copying SCHENA, that claimed that the accuracy of Arrayit’s serological test “was comparable or

better” than a COVID-19 PCR test. In addition, after SCHENA developed a purported test,

SCHENA and others failed to disclose that it failed to satisfy FDA performance standards for

obtaining an emergency use authorization, which is necessary for an unapproved medical device

to be legally marketed and sold in the United States during the public health emergency related to

COVID-19. An email obtained in this investigation that was transmitted by a representative of the

FDA to Executive-1 at Arrayit on April 17, 2020 stated that Arrayit’s emergency use authorization

would be converted to a pre-emergency use authorization because it was missing key pieces of

information that was necessary for FDA to conduct its review of the test. The email also stated

that Arrayit’s test sensitivity of 85.7% in detecting those with antibodies and specificity of 88.1%

in detecting those without antibodies were not at an acceptable level of performance that was

necessary to obtain emergency use authorization.         However, SCHENA and others nonetheless

continued to promote Arrayit’s bundled COVID-19/allergy test without disclosing these facts.




                                                   18
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 20 of 24



       65.    Evidence obtained in this investigation indicates that the purpose of SCHENA’s

false representations was to increase revenue from Arrayit’s expensive and medically unnecessary

allergy test. As early as March 17, 2020, Arrayit began to distribute marketing material entitled

“COVID-19 and Allergen Testing” that stated “COVID-19 compels allergy testing” and that the

Arrayit COVID-19 test “is being combined with the Environmental Allergen Panel.” In order to

promote the test, Arrayit falsely represented that government agencies and prominent scientists

endorsed the approach. Numerous emails that were sent by Arrayit employees to medical clinics

and others, some of which copied SCHENA, falsely represented that Arrayit “was following CDC

and NIAID directives in eliminating both allergies and the common flu whenever possible.”

Arrayit’s marketing materials and pages on the Arrayit website (that subsequently have been

deleted) suggested prominent public figures, such as Dr. Anthony S. Fauci, Director of Allergy

and Infectious Disease, and/or White House Coronavirus Coordinator Dr. Deborah Birx were

emphasizing the importance of a finger stick blood test for COVID-19 in order not to confuse

allergy symptoms with those of COVID-19. These marketing efforts were amplified online by

patient recruiters working on behalf of Arrayit, in posts on Facebook and other social media

platforms. Agents involved in this investigation have spoken with medical experts and other

witnesses who have stated that there is little medical basis for bundling COVID-19 and tests for

120 allergens. For example, allergies typically cause nasal symptoms such as a runny nose and

sinus congestion but do not usually result in a fever, as is found with coronavirus or the flu.

       66.    In response to the bundling of the COVID-19 and allergy test, at least one clinic

administrator responded by email with edits that eliminated the allergy references, writing to

SCHENA on March 24 that “it is important to maintain as much clarity as possible in regard to

COVID-19 in the current climate.” Arrayit did not modify its requisition form in response to the



                                                 19
        Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 21 of 24



email. Consultant #2 told law enforcement that after Arrayit introduced the COVID-19 test,

doctors who ordered the test told him/her that Arrayit also had conducted allergy tests that the

doctors had not ordered and did not believe were necessary. Consultant #2 was concerned that

Arrayit was billing for allergy testing that doctors had not ordered and sent an email about these

concerns that subsequently was forwarded to SCHENA.

       67.     Physician #1 told agents that it was not medically necessary to test for both COVID-

19 and 120 allergens. Physician #1 stated that SCHENA and others promoted Arrayit’s COVID-

19 test for use with patients despite the fact that the test returned “false positive” results, whereby

it indicated that a patient was positive for antibodies for COVID-19, when in reality the positive

results were due to past or present infection with non-COVID-19 coronavirus strains. In an

interview with this affiant, SCHENA admitted that Arrayit did not include language in its test

results that was required by the FDA to inform patients that positive results from serological tests

may be due to antibodies for other coronavirus strains, as opposed to for COVID-19.

               2.      Misrepresentations to Investors Surrounding COVID-19

       68.     Beginning in early March 2020, SCHENA and Arrayit told investors, prospective

investors, and other individuals that Arrayit had received substantial interest about its purported

test for COVID-19. For example, on March 9 and 10, 2020, SCHENA told several Arrayit

shareholders via email: “Confirming that we have a test for COVID-19. Thanks, Mark.” Between

in or about March 19 and in or about March 21, 2020, SCHENA sent an email to dozens of

investors who had inquired about the COVID-19 test. SCHENA’s email stated: “Dear Valued

Customer, We received more than 50,000 requests for our finger stick blood test for SARS-CoV-2,

the virus that causes coronavirus disease 2019 (COVID-19). Our team is coordinating with local,

state and federal agencies and with our distributors to make this test available to as many patients



                                                  20
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 22 of 24



as possible on an expedited timeline. Please consult our website and press releases for updates.

Best regards, Arrayit Corporation.” These emails were subsequently reposted on IHub and

SCHENA’s statements were amplified by individuals who posted his statements on IHub, Twitter,

and other media.

       69.     SCHENA has, in interviews with law enforcement, provided multiple and

conflicting explanations for his “we have a test” email and the “50,000 requests” email. SCHENA

told investigators that he was confident Arrayit would be able to develop a COVID-19 test on

March 9 because the switch from testing for allergies to testing for COVID-19 was “like a pastry

chef” who switches from selling “strawberry pies” to selling “rhubarb and strawberry pies,” but

admitted that Arrayit did not start running the test “until April of 2020.” SCHENA later told law

enforcement that his email was accurate because Arrayit was able to source COVID-19 tests from

other suppliers. But, as discussed above, this affiant has reviewed emails and other documents

where SCHENA promoted a proprietary Arrayit finger stick blood test for COVID-19 to investors

beginning in early March and did not mention sourcing a test from third party suppliers. Agents

involved in this investigation also have interviewed Arrayit employees and consultants, who stated

that they were unaware of any plans to source COVID-19 tests from other suppliers.

       70.     SCHENA initially stated that the “50,000” number referred to the number of

patients at Arrayit’s partnered allergy clinics. Later, SCHENA stated that the “50,000” number

referred to inquiries into availability of the test, and the number was based on a polling of the

clinics done on “the back of the envelope.” SCHENA then stated that the number was based on

the number of units doctors had requested. SCHENA then said that the number was an estimate

on the Arrayit side, and must have been based on feedback from clinics.        Finally, SCHENA




                                               21
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 23 of 24



explained that the number was “probably” based on a discussion with sales consultants, and that

he did not recall if those contacts were over email, multiple phone calls, or another means.

       71.     Law enforcement has interviewed a marketer who has assisted Arrayit in its

communications with doctors. This individual has told law enforcement that no doctors requested

the COVID-19 test from Arrayit.

       72.     In regard to the statement regarding coordination with federal, state, and local

regulators, SCHENA stated in an interview with federal agents that the federal regulators were the

Food and Drug Administration (FDA) and Department of Health and Human Services (HHS).

       73.     The investigative team has reviewed correspondence between the FDA and Arrayit.

As discussed above, the correspondence indicates that Arrayit did not notify FDA or submit an

emergency use authorization until April 13, 2020, nearly a month after the March 19 emails by

SCHENA.

       74.     As discussed above, in response to Arrayit’s submission, the FDA informed Arrayit

that its test was not at an acceptable level performance that would allow it to obtain emergency

use authorization for marketing and sale in the United States. Arrayit did not disclose any of these

setbacks to the market. SCHENA never updated or corrected statements to investors about the

viability or availability of Arrayit’s purported COVID-19 test.

       75.     Arrayit’s stock price began rising in mid-March 2020, even as the stock market was

crashing; it more than doubled in price by mid-March.

       76.     On April 14, 2020, the SEC instituted a two-week trading suspension on Arrayit

due to fraud related to COVID-19, preventing individuals from buying or selling the stock. Since

Arrayit has resumed trading, the stock has traded at lower price points.




                                                22
       Case 5:20-mj-70721-MRGD Document 1 Filed 06/08/20 Page 24 of 24



       77.     In furtherance of the scheme, SCHENA used instrumentalities of interstate

commerce, including but not limited to emails between California and other states.

                                         CONCLUSION

       78.     Based on the above facts and based on my training and experience, I believe there

is probable cause that MARK SCHENA engaged in securities fraud, in violation of 15 U.S.C. §§

78j & 78ff and 17 C.F.R. 240.10b-5, and conspiracy to commit health care fraud, in violation of

18 U.S.C. § 1349.

       79.     I respectfully request that this Complaint, any warrant issued pursuant thereto, and

any related records, be filed under seal until further order of the Court, as the investigation is

ongoing. An application and sealing order are filed concurrently with this affidavit and criminal

complaint. I declare under penalty of perjury that the above is true and correct to the best of my

knowledge.

                                                          /s/ Anna Hallstrom by VKD w/permission
                                                         _______________________________
                                                         ANNA HALLSTROM
                                                         Postal Inspector
                                                         United States Postal Inspection Service


                                                             8th day of June 2020.
Sworn to before me over the telephone and signed by me this ____


_____________________________________
HON. VIRGINIA D. DEMARCHI
United States Magistrate Judge




                                                23
